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                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION


     RESONANT SYSTEMS, INC. d/b/a
     RevelHMI,
                         Plaintiff,

                v.                                  Civil Action No. 2:22-cv-00423-JRG
     SAMSUNG ELECTRONICS CO. LTD.,
     and SAMSUNG ELECTRONICS
     AMERICA, INC.,
                         Defendants.

                                  DOCKET CONTROL ORDER

          In accordance with the scheduling conference held in this case, it is hereby ORDERED

 that the following schedule of deadlines is in effect until further order of this Court. Further, the

 parties’ Joint Motion to Amend Docket Control Order (Dkt. No. 82) is hereby DENIED AS MOOT.


         Date                                           Event

      January 26,     *Jury Selection – 9:00 a.m. in Marshall, Texas
         2026

     7 days before    *Defendant to disclose final invalidity theories, final prior art
     Jury Selection   references/combinations, and final equitable defenses.1

     10 days before   *Plaintiff to disclose final election of Asserted Claims.2
     Jury Selection


 1
  The proposed DCO shall include this specific deadline. The deadline shall read, “7 days before
 Jury Selection,” and shall not include a specific date.
 2
  Given the Court’s past experiences with litigants dropping claims and defenses during or on the
 eve of trial, the Court is of the opinion that these additional deadlines are necessary. The proposed
 DCO shall include this specific deadline. The deadline shall read, “10 days before Jury Selection,”
 and shall not include a specific date.
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                    * If a juror questionnaire is to be used, an editable (in Microsoft Word
     December 18,
                    format) questionnaire shall be jointly submitted to the Deputy Clerk in
        2025
                    Charge by this date.3

     December 17,   *Pretrial Conference – 9:00 a.m. in Marshall, Texas before Judge
        2025        Rodney Gilstrap

                    *Notify Court of Agreements Reached During Meet and Confer

     December 4,    The parties are ordered to meet and confer on any outstanding objections
        2025        or motions in limine. The parties shall advise the Court of any
                    agreements reached no later than 1:00 p.m. three (3) business days
                    before the pretrial conference.

                    *File Joint Pretrial Order, Joint Proposed Jury Instructions, Joint
     December 4,    Proposed Verdict Form, Responses to Motions in Limine, Updated
        2025        Exhibit Lists, Updated Witness Lists, and Updated Deposition
                    Designations

                    *File Notice of Request for Daily Transcript or Real Time Reporting.

     December 4,    If a daily transcript or real time reporting of court proceedings is
        2024        requested for trial, the party or parties making said request shall file a
                    notice with the Court and e-mail the Court Reporter, Shawn McRoberts,
                    at shawn_mcroberts@txed.uscourts.gov.

                    File Motions in Limine
     November 20,
                    The parties shall limit their motions in limine to issues that if improperly
        2025
                    introduced at trial would be so prejudicial that the Court could not
                    alleviate the prejudice by giving appropriate instructions to the jury.

     November 20,   Serve Objections to Rebuttal Pretrial Disclosures
        2025

     November 13,   Serve Objections to Pretrial Disclosures; and Serve Rebuttal Pretrial
        2025        Disclosures

      October 30,   Serve Pretrial Disclosures (Witness List, Deposition Designations, and
         2025       Exhibit List) by the Party with the Burden of Proof




 3
  The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in
 Advance of Voir Dire.
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                       *Response to Dispositive Motions (including Daubert Motions).
                       Responses to dispositive motions that were filed prior to the dispositive
       October 23,     motion deadline, including Daubert Motions, shall be due in accordance
          2025         with Local Rule CV-7(e), not to exceed the deadline as set forth in this
                       Docket Control Order.4 Motions for Summary Judgment shall comply
                       with Local Rule CV-56.

                       *File Motions to Strike Expert Testimony (including Daubert Motions)
     October 9, 2025
                       No motion to strike expert testimony (including a Daubert motion) may
                       be filed after this date without leave of the Court.

                       *File Dispositive Motions

                       No dispositive motion may be filed after this date without leave of the
                       Court.
     October 9, 2025
                       Motions shall comply with Local Rule CV-56 and Local Rule CV-7.
                       Motions to extend page limits will only be granted in exceptional
                       circumstances. Exceptional circumstances require more than agreement
                       among the parties.

     October 2, 2025 Deadline to Complete Expert Discovery

     September 25,     Serve Disclosures for Rebuttal Expert Witnesses
         2025

       August 28,      Serve Disclosures for Expert Witnesses by the Party with the Burden
         2025          of Proof

       August 15,      Deadline to Complete Fact Discovery and File Motions to Compel
         2025          Discovery

      June 26, 2025    Comply with P.R. 3-7 (Opinion of Counsel Defenses)

                       *Claim Construction Hearing – 9 a.m. in Marshall, Texas before Judge
      June 2, 2025
                       Rodney Gilstrap

                       Parties Submit Updated/Revised P.R. 4-5(d) (Joint Claim Construction
      May 19, 2025
                       Chart)

 4
   The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to
 oppose a motion in the manner prescribed herein creates a presumption that the party does not
 controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”
 If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to Dispositive
 Motions, the deadline for Response to Dispositive Motions controls.
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   May 12, 2025      Plaintiff Files Supplemental Reply Claim Construction Brief

    May 5, 2025      Defendants File Responsive Supplemental Claim Construction Brief

   April 21, 2025    Plaintiff Files Opening Supplemental Claim Construction Brief)

   April 8, 2025     Completion of Claim Construction Discovery (if any)

  March 26, 2025     Joint Claim Construction and Prehearing Statement.

   March 5, 2025     Exchange of Preliminary Claim Constructions and Extrinsic Evidence

    February 19,     Exchange terms requiring constructions and/or supplemental briefing
       2025

    February 5,      Plaintiff to identify asserted claims (from set of previously asserted
       2025          claims that survived IPR)

 (*) indicates a deadline that cannot be changed without an acceptable showing of good
 cause. Good cause is not shown merely by indicating that the parties agree that the
 deadline should be changed.

                                ADDITIONAL REQUIREMENTS

         Mediation: While certain cases may benefit from mediation, such may not be appropriate
 for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
 benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
 ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
 mediation within fourteen days of the issuance of the Court’s claim construction order. As a
 part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
 mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
 the Parties should set forth a brief statement of their competing positions in the Joint Notice.

         Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
 Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
 the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
 exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
 must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
 business days after briefing has completed. For expert-related motions, complete digital copies of
 the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
 to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
 than the dispositive motion deadline.

         Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
 include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
 the local rules’ normal page limits.
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        Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
 “[o]n the first appearance through counsel, each party shall designate a lead attorney on the
 pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
 changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the Court
 an Order granting leave to designate different lead counsel. The true lead counsel should be
 designated early and should not expect to parachute in as lead once the case has been largely
 developed.

          Motions for Continuance: The following will not warrant a continuance nor justify a
 failure to comply with the discovery deadline:

 (a)    The fact that there are motions for summary judgment or motions to dismiss pending;

 (b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
        unless the other setting was made prior to the date of this order or was made as a special
        provision for the parties in the other case;

 (c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
        was impossible to complete discovery despite their good faith effort to do so.

        Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
 the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
 include a proposed order that lists all of the remaining dates in one column (as above) and the
 proposed changes to each date in an additional adjacent column (if there is no change for a date
 the proposed date column should remain blank or indicate that it is unchanged). In other words,
 the DCO in the proposed order should be complete such that one can clearly see all the remaining
 deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
 version of the DCO.

        Proposed DCO: The Parties’ Proposed DCO should also follow the format described
 above under “Amendments to the Docket Control Order (‘DCO’).”

         Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
 the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff
 shall also specify the nature of each theory of infringement, including under which subsections of
 35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or
 infringement under the doctrine of equivalents. Each Defendant shall indicate the nature of each
 theory of invalidity, including invalidity for anticipation, obviousness, subject-matter eligibility,
 written description, enablement, or any other basis for invalidity. The Defendant shall also specify
 each prior art reference or combination of references upon which the Defendant shall rely at trial,
 with respect to each theory of invalidity. The contentions of the Parties may not be amended,
 supplemented, or dropped without leave of the Court based upon a showing of good cause. The
 Parties in a case which has been consolidated for pre-trial purposes and which is moving towards
 a separate trial on the merits (subsequent to pre-trial) shall file, as an exhibit to the parties’ Joint
 Pretrial Order, a list identifying all docket entries from the lead case that relate to the applicable
 member case.
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         Trial: All parties must appear in person at trial. All non-individual (including but not
 limited to corporate) parties must appear at trial through the presence in person of a designated
 representative. Once they have appeared, any representative of a non-individual party shall not be
 replaced or substituted without express leave of Court.


        So Ordered this
        Feb 5, 2025
